Case 2:05-cr-20072-.]PI\/| Document42 Filed 08/29/05 PagelofS Page|D 7

IN THE UNITED STATES DISTRICT COURT HHDBKN, -;~“DB
FOR THE WESTERN DISTRICT OF TENNESSEE

wEsTERN DIvIsION 05 AUG 29 AH 5= 112

 

THO.‘~:‘»“J;S E»I. GOULD
CLE}R U.S. DISTR?CT (XII'\T
W/D OF TN, MEMPH¥S

Criminal No. Qi_-dc fagg Ml

(30-Day Continuance)

UNI'I`ED STATES OF AMERICA

Plaintiff,

 

jimmy LIL,'//'\$`“

 

 

 

 

\_z\_¢~_/\/VV~_»VVVVVVV\_/~_/\_/~_¢V~_d

Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated `by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the September,
2005, criminal rotation calendar, bUt*T5*now_RESEI-i£&»£eport”§f“
;LHM&HINTT”EH_FTTNE&L i¥u%xm&m§sé§b_£££§+<wi§h-Erial to take place
on the October, 2005 rotation calendar with the time excluded under
the Speedy Trial Act through October 14, 2005. Agreed.in open court

at report date this 26th day of August, 2005.

Hnsdocumentenmredonthedockets ea macomphanca
mm Huie 35 ami/or 32(b) FRCrP on § , iljl:} jj£

Case 2:05-cr-20072-.]PI\/| Document 42 Filed 08/29/05 Page 2 of 3 Page|D 58

SO ORDERED this 26th day of August, 2005.

0 wl wl

JO PHIPPS MCCALLA
UN TED STATES DIS'I`RICT JUDGE

721 ‘¢"}7 S£j/:r<n:wa
{%zr/

Assi ant United States Attorney

é_///%o

 

 

 

 

 

Counsel for Defendant(s)

   

UNITED sT"RATEDIsTIC COURT - WETERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 42 in
case 2:05-CR-20072 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

 

LaWrence W. Kern
KERN LAW FIRM

51 18 Park Avenue

Ste. 600

Memphis7 TN 38117--571

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

